Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                International Longshore and Warehouse Union

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA ILWU
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  1188 Franklin Street, 4th Floor
                                  San Francisco, CA 94109
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  San Francisco                                                   Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.ilwu.org


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:    Labor Organization




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Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
Debtor    International Longshore and Warehouse Union                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                              8139

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
     business debtor” must check           Chapter 11. Check all that apply:
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




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Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
Debtor    International Longshore and Warehouse Union                                                     Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                              1,000-5,000                                25,001-50,000
    creditors                              50-99                                             5001-10,000                                50,001-100,000
                                           100-199                                           10,001-25,000                              More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities                  $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




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Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
Debtor    International Longshore and Warehouse Union
          Name
                                                                                                   Case number (if known)
                                                                                                                            ---------------
         Request for Rellef, Declaration, and Signatures

WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
          imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3 571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 30, 2023
                                                  MM/DD/YYYY


                             x\Js,).,    \�,cvm f <1clt..roia.
                               Signature of authonzect representative of debtor
                                                                                                          William E. Adams
                                                                                                          Printed name

                                 Title   President




18. Signature of attorney    X                                                                             Date September 30, 2023
                                                                                                                MM/OD/YYYY

                                 Jason H. Rosell
                                 Printed name

                                 Pachulski Stang Ziehl & Jones LLP
                                 Firm name

                                 One Sansome Street, Suite 3430
                                 San Francisco, CA 94104
                                 Number, Street, City, State & ZIP Code

                                 Contact phone     415-263-7000                  Email address      jrosell@pszjlaw.com


                                 269126 CA
                                 Bar number and State




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      RESOLUTIONS OF THE INTERNATIONAL EXECUTIVE BOARD OF THE
          INTERNATIONAL LONGSHORE AND WAREHOUSE UNION

        The members of the International Executive Board of the International Longshore and
Warehouse Union (the “ILWU”), a California labor organization, hereby adopt the following
resolutions, as the action of the International Executive Board of the ILWU.

               WHEREAS, the International Executive Board has considered the financial and
        operational aspects of the ILWU’s business;

                WHEREAS, the International Executive Board has reviewed the historical
        performance of the ILWU, the market for the ILWU’s services, and the current and long-
        term liabilities of the ILWU;

               WHEREAS, the International Executive Board has reviewed, considered, and
        received the recommendations of the ILWU’s Titled Officers, Trustees, senior
        management, and the ILWU’s professionals and advisors as to the filing of chapter 11
        bankruptcy proceedings;

                NOW, THEREFORE, IT IS RESOLVED that, in the judgment of the
        International Executive Board, it is desirable and in the best interests of the ILWU, its
        creditors, and other interested parties, that a voluntary petition be filed by the ILWU
        under the provisions of subchapter V of chapter 11 of Title 11 of the United States Code
        (the “Bankruptcy Code”);

               IT IS FURTHER RESOLVED that the Titled Officers and, in particular,
        William E. Adams, President of the ILWU, in his own discretion, be, and hereby is,
        authorized to execute and file on behalf of the ILWU all petitions, schedules, lists, and
        other papers or documents and to take any and all action which he deems necessary or
        proper to obtain such relief, including, but not limited to, retaining general bankruptcy
        counsel, a financial advisor, and any other professionals required to assist the ILWU in
        carrying out its duties under the Bankruptcy Code;

                IT IS FURTHER RESOLVED that the Titled Officers and, in particular,
        William E. Adams, President of the ILWU, in his own discretion be, and hereby is,
        authorized and empowered to take or cause to be taken any and all such other and further
        action, and to execute, acknowledge, deliver and file any and all such instruments as it, in
        its discretion, may deem necessary or advisable in order to carry out the purpose and
        intent of the foregoing resolutions;

                IT IS FURTHER RESOLVED that all of the acts and transactions relating to
        matters contemplated by the foregoing resolutions of the International Executive Board
        of the ILWU, in the name and on behalf of the ILWU, which acts would have been
        approved by the foregoing resolutions except that such acts were taken prior to the
        execution of these resolutions, are hereby in all respects confirmed, approved and
        ratified.



DOCS_LA:350959.3
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                         CERTIFICATE AND ACKNOWLEDGEMENT

        The undersigned, William E. Adams, the International President and a member of the

International Executive Board of Directors (the “Executive Board”) of the International

Longshore and Warehouse Union (the “ILWU”), a California labor organization, hereby certifies

as follows:

                   1.    I am the President of the ILWU and a duly qualified member of the

        International Executive Board and, as such, I am familiar with the facts herein certified

        and I am duly authorized to certify same on behalf of the ILWU.

                   2.    Attached hereto is a true, complete, and correct copy of the resolutions of

        the International Executive Board, duly adopted at a properly convened meeting of the

        International Executive Board on August 17, 2023, by unanimous vote of the members

        there present.

                   3.    Such resolutions have not been amended, altered, annulled, rescinded, or

        revoked and are in full force and effect as of the date hereof. There exist no other

        resolutions of the International Executive Board relating to the matters set forth in the

        resolutions attached hereto.

        The undersigned, William E. Adams, in his capacity as President of the ILWU, further

acknowledges and recognizes the International Executives Board’s authority to approve the

commencement of a bankruptcy case by the ILWU pursuant to its Constitution. Moreover, in his

capacity as President of the ILWU, he concurs with the International Executive Board’s authority

and decision to approve the commencment of a bankruptcy case by the ILWU.




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         IN WITNESS WHEREOF, the undersigned has executed this certificate and

 acknowledgement as of September 30, 2023.



                                  \Name:
                                    �             £, ca,.llbae
                                         William E. Adams
                                   Title:    President and Member of the
                                             International Executive Board




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           ILWU
           Balance Sheet
           ($000s)


                                                                 Aug-23

           Assets
           Current Assets
            Cash and Cash Equivalents                        $      9,530
            Certificates of Deposit                                   531
            Accounts Receivable                                     1,112
            Prepaid Expenses                                          120
            Supplies Inventory                                        259
           Total Current Assets                                    11,552
           Furniture and Equipment, net                                45
           Deposits                                                    37
            Total Assets                                     $     11,634
           Liabilities and Net Assets
           Current Liabilities
            Accounts Payable and Accrued Expenses            $         71
            Accrued Vacation and Sick Payable                         233
           Total Current Liabilities                                  304
            Litigation Contingency                                    704
           Total Liabilities                                        1,008

           Total Net Assets                                        10,626
           Total Liabilities and Net Assets                  $     11,634




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         ILWU
         Statement of Operations
         ($000s)


                                                                                YTD
                                                              Aug-23
                                                                               Aug-23

         Revenue
         Per Capita Assessments
          Administration                                  $       760      $     6,045
          Dispatcher per Capita                                    -                59
         Total Per Capita                                         760            6,103
           Dispatcher Subscription and Over-Circulation                0            14
           In-Kind Rent Donation                                  -                 67
           Interest Income                                             1             9
           Book and Video Income                                  -                  4
           Royalty Income                                            2               9
           Legacy Fund                                             -                 1
           Other Income                                            -                21
         Total Revenue                                            763            6,228
         Expenses
         Budgeted Expenses
          Program Services:
           Dispatcher                                              (25)            (345)
           Research and Education                                  (37)            (349)
           Organizing and Field Services                         (241)           (1,840)
           Washington Office                                       (19)            (183)
           Education                                               (17)            (213)
           Convention                                                (9)             (22)
           Public Relations                                        (27)            (126)
         Total Program Services                                  (375)           (3,077)
                                                                                     -
          Supporting Services:                                                       -
           Administration                                        (297)           (2,434)
         Total Budgeted Expenses                                 (672)           (5,511)
                                                                                     -
           Non-Budgeted Expenses                                    (2)              (33)
                                                                                     -
         Total Expenses                                          (674)           (5,544)
                                                                                     -
         Change in Net Assets                             $        90      $        683
                                                                                     -




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     ILWU
     Cash Flow Statement
     ($000s)

                                                                                    YTD
                                                                 Aug-23
                                                                                   Aug-23
     Cash Flows from Operating Activities:
       Change in Net Assets                                  $            90   $        683
       Adjustments to Reconcile Change in Net Assets to
       Net Cash (used in) provided by Operating Activities
        Depreciation                                                       -                2
       Changes in Operating Assets and Liabilities:
           Accounts Receivable                                          23              544
           Prepaid Expenses                                              (3)            191
           Supplies Inventory                                            (6)             (28)
           Accounts Payable and Accrued Expenses                     (168)             (166)
           Accrued Vacation and Sick Payable                               -              23
     Net Cash (Used in) Provided by Operating Activities               (65)           1,249
     Cash Flows from Investing Activities:
      (Purchases) of Furniture and Equipment                               -            (27)
      (Purchases) Sales of Certificates of Deposit, net                    -               -
     Net Cash (Used in) Provided by Investing Activities              -                 (27)
     Net Cash (Used in) Provided by Financing Activities              -                 -
     Net (Decrease) Increase in Cash and Cash Equivalents             (65)            1,222
     Cash and Cash Equivalents - Beginning of Period               10,126             8,839
     Cash and Cash Equivalents - End of Period               $     10,061      $     10,061




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